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 9   Attorneys for Defendants State of California
     and Governor Gavin Newsom
10

11                           IN THE UNITED STATES DISTRICT COURT

12                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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     YOCHA DEHE WINTUN NATION;                          2:19-cv-00025-JAM-AC
16   VIEJAS BAND OF KUMEYAAY
     INDIANS; and SYCUAN BAND OF THE
17   KUMEYAAY NATION,
                                                      STIPULATION AND ORDER TO
18                                        Plaintiffs, EXTEND TIME TO RESPOND TO
                                                      COMPLAINT
19                 v.
                                                        [L.R. 144(a)]
20
     EDMUND G. BROWN, GOVERNOR OF                   Courtroom:          6, 14th Floor
21   CALIFORNIA; STATE OF CALIFORNIA,               Judge:              Hon. John A. Mendez
                                                    Trial Date:         None Set
22                                      Defendants. Action Filed:       1/3/2019

23

24        Pursuant to the provisions of Local Rule 6-144, defendants the State of California and

25   Gavin Newsom,1 Governor of the State of California (Defendants) and plaintiffs the Yocha Dehe

26   Wintun Nation, the Viejas Band of Kumeyaay Indians, and the Sycuan Band of the Kumeyaay

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               Pursuant to Federal Rule of Civil Procedure 25(d), Governor Newsom is substituted as a
28   party in place of former Governor Brown.
                                                     1
                                   Stipulation to Extend Time to Respond to Complaint (2:19-cv-00025-JAM-AC)
      Case 2:19-cv-00025-JAM-AC Document 7 Filed 01/25/19 Page 2 of 4

 1   Nations (Plaintiffs), by and through their respective counsel, hereby stipulate that Defendants
 2   may have additional time within which to answer or otherwise respond to the Complaint filed by
 3   Plaintiffs on January 3, 2019. The parties stipulate, subject to approval of the Court, that the last
 4   day for Defendants to answer or otherwise respond to Plaintiffs’ complaint is Monday, March 18,
 5   2019.
 6           Good cause exists for this initial extension because Governor Newsom’s administration,
 7   having commenced January 7, 2019, requires additional time to become knowledgeable about the
 8   important issues and interests underlying this case and to prepare an answer or to otherwise
 9   respond to the complaint.
10

11   Dated: January 24, 2019                                Respectfully Submitted,

12                                                          XAVIER BECERRA
                                                            Attorney General of California
13                                                          SARA J. DRAKE
                                                            Senior Assistant Attorney General
14                                                          T. MICHELLE LAIRD
                                                            Supervising Deputy Attorney General
15                                                          COLIN A. WOOD
                                                            Deputy Attorney General
16

17                                                              /s/ JENNIFER T. HENDERSON

18
                                                            JENNIFER T. HENDERSON
19                                                          Deputy Attorney General
                                                            Attorneys for Defendants State of
20                                                          California and Governor Gavin Newsom

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22   Dated: January 24, 2019                                Dentons US LLP

23
                                                                /s/ JEFFRY BUTLER (as
24                                                                 authorized on 1/24/19)

25                                                          Jeffry Butler
                                                            Attorneys for Plaintiff
26                                                          Yocha Dehe Wintun Nation

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                                                        2
                                     Stipulation to Extend Time to Respond to Complaint (2:19-cv-00025-JAM-AC)
      Case 2:19-cv-00025-JAM-AC Document 7 Filed 01/25/19 Page 3 of 4

 1   Dated: January 24, 2019                          Office of the Attorney General
                                                      Viejas Band of Kumeyaay Indians
 2

 3                                                        /s/ TUARI N. BIGKNIFE (as
                                                              authorized on 1/24/19)
 4
                                                      Tuari N. Bigknife
 5                                                    Attorney for Plaintiff
                                                      Viejas Band of Kumeyaay Indians
 6

 7

 8   Dated: January 24, 2019                          Office of the General Counsel
                                                      Sycuan Band of the Kumeyaay Nation
 9

10                                                        /s/ MARK A. RADOFF (as
                                                              authorized on 1/24/19)
11
                                                      Mark A. Radoff
12                                                    Attorneys for Plaintiff
                                                      Sycuan Band of the Kumeyaay Nation
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                               Stipulation to Extend Time to Respond to Complaint (2:19-cv-00025-JAM-AC)
      Case 2:19-cv-00025-JAM-AC Document 7 Filed 01/25/19 Page 4 of 4

 1                                               ORDER
 2        Pursuant to the parties’ stipulation and good cause having been shown, IT IS HEREBY
 3   ORDERED that Defendants shall answer or otherwise respond to Plaintiffs’ complaint on or
 4   before Monday, March 18, 2019.
 5   DATED: 1/24/2019
                                                    /s/ John A. Mendez_______________
 6                                                  Honorable John A. Mendez
 7                                                  Judge of the United States District Court

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                                  Stipulation to Extend Time to Respond to Complaint (2:19-cv-00025-JAM-AC)
